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                                EXHIBIT “2”
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                                                                    Page 1

  1
  2     UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
  3     INDEX #:    1:20-cv-00209(FB)(RML)
        -  -  -   -   -  -  -  -  -  -   - -  -   X
  4     GOVERNMENT EMPLOYEES INSURANCE
        COMPANY, GEICO INDEMNITY
  5     COMPANY, GEICO GENERAL
        INSURANCE COMPANY, and GEICO
  6     CASUALTY COMPANY,
                              Plaintiffs,
  7              -against-
        YAKOV ZILBERMAN, D.C., YAN Z
  8     CHIROPRACTIC, PC, MAZ
        CHIROPRACTIC, PC, SANFORD
  9     CHIROPRACTIC, PC, DOS MANOS
        CHIROPRACTIC, PC and "JOHN DOE
 10     DEFENDANTS 1-10",
                              Defendants.
 11     -  -  -   -   -  -  -  -  -  -   - -  - X
                              Virtual Deposition
 12                           Brooklyn, New York
 13                           December 15, 2020
                              10:30 a.m.
 14
 15               DEPOSITION of YAKOV KRUGLYAK, a
 16     Non-Party Witness, by the Adverse Parties,
 17     in the above-entitled action, held at the
 18     above time and place, pursuant to
 19     Subpoena, and the Federal Rules of Civil
 20     Procedure, via Virtual Zoom, taken before
 21     Tracie Shand, a shorthand reporter and
 22     Notary Public within and for the State of
 23     New York.
 24
 25
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                                                                    Page 2

  1
  2     A P P E A R A N C E S:
  3
             RIVKIN, RADLER, LLP
  4                Attorneys for Plaintiffs
                   926 Reckson Plaza
  5                Uniondale, New York 11556
             BY:   SEAN P. GORTON, ESQ.
  6                FILE #:  5100-2923
                   VIA ZOOM
  7
  8          GARY TSIRELMAN, ESQ.
                   Attorney for Non-Party
  9                129 Livingston Street
                   Brooklyn, New York 11201
 10          BY:   GARY TSIRELMAN, ESQ.
                   VIA ZOOM
 11
 12
             SCHWARTZ, CONROY & HACK, PC
 13                Attorneys for Defendants
                   666 Old Country Road, Suite 900
 14                Garden City, New York 11530
             BY:   MATTHEW CONROY, ESQ.
 15                VIA ZOOM
 16
 17
 18     ALSO PRESENT:
           Oksana Tishchenko, Russian Interpreter
 19
 20
 21
 22
 23
 24
 25
Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 4 of 25 PageID #: 2915



                                                                    Page 3

  1
  2                        S T I P U L A T I O N S
  3
  4                   IT IS HEREBY STIPULATED AND
  5     AGREED by and between the attorneys for
  6     the respective parties herein, that
  7     filing, sealing and certification be and
  8     the same are hereby waived.
  9                   IT IS FURTHER STIPULATED AND
 10     AGREED that all objections, except as to
 11     the form of the question shall be reserved
 12     to the time of the trial.
 13                   IT IS FURTHER STIPULATED AND
 14     AGREED that the within deposition may be
 15     signed and sworn to before any officer
 16     authorized to administer an oath, with the
 17     same force and effect as if signed and
 18     sworn to before The Court.
 19
 20
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Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 5 of 25 PageID #: 2916



                                                                   Page 15

  1                       Yakov Kruglyak
  2           would like to jump to page 43 of this
  3           affidavit.          This is part of Exhibit 1.
  4           It includes a check that W.I.P.
  5           Holding wrote to the Narain Law Firm,
  6           PC for $9,874.17.              This check was
  7           cashed at Cambridge Clarendon
  8           Financial Services, a check cashing
  9           facility in New Jersey.
 10           Q.        My question is, Mr. Kruglyak,
 11     why did W.I.P. Holding write a check to
 12     the Narain Law Firm, PC?
 13           A.        I was cashing the check.                  I was
 14     told to write this check out to this firm
 15     and I did.
 16           Q.        Who told you to write this
 17     check?
 18           A.        Dr. Yakov.
 19           Q.        Is that Dr. Yakov Zilberman?
 20           A.        Yes.
 21           Q.        When did he tell you to write
 22     this check?
 23           A.        I don't remember.
 24           Q.        Can you give me an approximate
 25     date?
Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 6 of 25 PageID #: 2917



                                                                   Page 16

  1                       Yakov Kruglyak
  2           A.        No.     I don't remember exactly.
  3     Maybe, there was another check like this.
  4     I don't remember exactly.
  5           Q.        Do you know why Yakov Zilberman
  6     told you to write this check?
  7           A.        I ask where to write it in order
  8     to cash the check.
  9           Q.        Why did you need to cash the
 10     check?
 11           A.        I wanted to have cash.
 12           Q.        Did you receive the cash from
 13     this check?
 14           A.        Yes.
 15           Q.        Why didn't you just write the
 16     check to yourself?
 17           A.        I don't know.
 18           Q.        Did you ask Yakov Zilberman why
 19     you needed to write the check to the
 20     Narain Law Firm?
 21           A.        Yes, I did.
 22           Q.        What did he tell you?
 23           A.        He said that he worked with this
 24     firm and that I could write it out to
 25     them.
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                                                                   Page 17

  1                       Yakov Kruglyak
  2           Q.        What did you do with the check
  3     after you wrote it; did you give it to
  4     anybody?
  5           A.        Yes.      I gave it away.
  6           Q.        Who did you give it to?
  7           A.        Eugene.
  8           Q.        Do you know who is Eugene?
  9                     Do you know Eugene's last name?
 10           A.        I don't know his last name.
 11           Q.        Do you know where you gave it to
 12     Eugene?
 13           A.        We met in the street.
 14           Q.        Where?
 15           A.        In Brooklyn.
 16           Q.        Who arranged the meeting?
 17           A.        Yakov Zilberman arranged the
 18     meeting.
 19           Q.        Can you tell me what Eugene
 20     looks like?
 21           A.        He's shorter than me.                Stocky.
 22     Black hair.           Yes, black hair.
 23           Q.        Do you have any way to contact
 24     Eugene?
 25           A.        No.
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                                                                   Page 18

  1                       Yakov Kruglyak
  2           Q.        Do you normally meet people on
  3     the street to give them checks?
  4           A.        Yakov called me and told me a
  5     specific place to go and meet with him.
  6     Prior to that I did meet with Eugene, so,
  7     I knew what he looked like and he knew
  8     what I looked like.
  9           Q.        What were the circumstances of
 10     your prior meeting with Eugene?
 11           A.        We met with him when Yakov -- we
 12     met in the Russian bana when I was there
 13     with Dr. Yakov.
 14           Q.        What did you do with the money
 15     you received from this check?
 16           A.        Brought it home.
 17           Q.        And did what with it?
 18                     Did you spend it on anything?
 19           A.        Whenever it was needed I spent
 20     it, yes.
 21           Q.        Did you write any other checks
 22     that were converted to cash?
 23           A.        Yes.
 24           Q.        Do you know what entities those
 25     checks were written to?
Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 9 of 25 PageID #: 2920



                                                                   Page 19

  1                       Yakov Kruglyak
  2           A.        I don't remember.
  3           Q.        Do you know whose idea it was to
  4     write those checks?
  5           A.        Dr. Yakov offered me that I
  6     could cash checks and that's what I was
  7     doing.
  8           Q.        Just to clarify, it's your
  9     testimony that any check that W.I.P.
 10     Holding wrote that was cashed at a check
 11     cashing facility, you wrote it because
 12     Yakov Zilberman told you to; is that a
 13     fair statement?
 14           A.        No, but then I was doing it
 15     myself.
 16           Q.        Can you clarify what you mean by
 17     that?
 18           A.        I cashed the checks when Yakov
 19     Zilberman did not know about it as well.
 20           Q.        How did you know what company to
 21     make the check out to if Yakov Zilberman
 22     didn't tell you?
 23           A.        I was writing it to the same
 24     ones.
 25           Q.        I apologize -- sorry, go ahead.
Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 10 of 25 PageID #: 2921



                                                                   Page 20

   1                      Yakov Kruglyak
   2                     THE INTERPRETER:             No.     It's
   3           okay.
   4           Q.        I apologize if I asked this
   5     already, but do you remember the names of
   6     those other entities that W.I.P. Holding
   7     wrote checks to?
   8           A.        I don't remember.
   9           Q.        Have you written any checks that
  10     were converted into cash within the last
  11     six months?
  12           A.        Maybe, at the beginning of the
  13     year, maybe, once I'm remembering.                       I'm
  14     trying to remember.              I don't remember
  15     exactly.
  16           Q.        Would it be fair to say that,
  17     yes, you have written a check that was
  18     converted into cash within the past 12
  19     months?
  20           A.        Yes.
  21           Q.        You don't remember who you made
  22     that check out to?
  23           A.        No, I don't remember.
  24           Q.        Have you ever heard of an
  25     individual named Joseph Vasilevsky,
Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 11 of 25 PageID #: 2922



                                                                   Page 37

   1                      Yakov Kruglyak
   2                     You can answer.
   3           A.        If he was getting treatment with
   4     someone else?
   5                     I don't know.
   6                     MR. GORTON:         Let's go ahead and
   7           mark the document entitled Cambridge
   8           Clarendon as the next exhibit.                     This
   9           is Exhibit 6.
  10                     (Whereupon, Plaintiff's Exhibit
  11           6, Cambridge Clarendon document was
  12           marked, for identification, as of this
  13           date.)
  14           Q.        Mr. Kruglyak I'm showing you
  15     what's been marked Exhibit 6.                    This is a
  16     14 page document.             I will represent to you
  17     that this is a series of documents that
  18     Cambridge Clarendon Financial Services
  19     produced in response to a subpoena in this
  20     action.       I'm going to go through this with
  21     you page by page.
  22                     I'll also represent, as we
  23     discussed earlier, Cambridge Clarendon is
  24     a check cashing facility in New Jersey.
  25                     The first page of this document
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                                                                   Page 38

   1                      Yakov Kruglyak
   2     is a supposed June 13, 2013 letter from
   3     the IRS to W.I.P. Holding.
   4                     The W.I.P. Holding address is
   5     listed as 101-19 101st Avenue,
   6     Richmond Hill, New York 11419.
   7                     Has W.I.P. Holding ever been
   8     associated with that address?
   9           A.        The company was opened with this
  10     address.
  11           Q.        What did the company use that
  12     address for?
  13           A.        I did not open this company.
  14           Q.        Who opened this company?
  15           A.        The former owner.
  16           Q.        Is that Vitaliy Narovlyansky?
  17           A.        Yes.
  18           Q.        When did you first get involved
  19     with W.I.P. Holding?
  20           A.        I'm assuming in about 2002.
  21           Q.        Okay.
  22                     When did Mr. Narovlyansky leave
  23     W.I.P. Holding, approximately?
  24           A.        2006, 2007.
  25           Q.        So, is it fair to say since,
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                                                                   Page 39

   1                      Yakov Kruglyak
   2     approximately, 2006 or 2007, you have been
   3     the sole owner of W.I.P. Holding?
   4           A.        Yes.
   5           Q.        Sticking with this supposed IRS
   6     letter to W.I.P. Holding, it indicates
   7     that W.I.P. Holding's employer
   8     identification number is                         1054.
   9                     Mr. Kruglyak, do you know if
  10     that is W.I.P. Holding's employer
  11     identification number?
  12           A.        No.
  13           Q.        No, you don't know, or, no, it
  14     isn't the employer identification number?
  15           A.        That's not the number.
  16                     MR. TSIRELMAN:           Could we take a
  17           few minutes break?
  18                     We've been doing this for about
  19           an hour.
  20                     MR. GORTON:         Sure.
  21                     We could take a couple of
  22           minutes.
  23                     THE INTERPRETER:             Do you have
  24           any estimate as to how long we're
  25           going to go today?
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                                                                   Page 40

   1                      Yakov Kruglyak
   2                     MR. GORTON:         We'll probably be
   3           done by 1:00.
   4                     (Whereupon, a recess was taken
   5           at this time.)
   6                     MR. GORTON:         Could you do me a
   7           favor and read back the last question
   8           and answer?
   9                     (Whereupon, the record was read
  10           back by the reporter.)
  11           Q.        Mr. Kruglyak, as you sit here
  12     right now, do you know what W.I.P.
  13     Holding's employer identification number
  14     actually is?
  15           A.        11359.      I don't remember the
  16     rest.
  17           Q.        Jumping down to page two of what
  18     was previously marked as Exhibit 6.                        This
  19     is an application for commercial check
  20     cashing account for W.I.P. Holding.
  21                     Again, this was produced by
  22     Cambridge Clarendon Financial Services in
  23     response to a subpoena in this matter.
  24                     If I could direct your attention
  25     to the middle of the page where it says
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                                                                   Page 41

   1                      Yakov Kruglyak
   2     name of officer slash contact, W.I.P.
   3     Holding, officer slash contact is listed
   4     as Antonio Bravo.
   5                     Mr. Kruglyak, has anyone named
   6     Antonio Bravo ever been associated with
   7     W.I.P. Holding?
   8           A.        No.
   9           Q.        Do you know an individual named
  10     Antonio Bravo?
  11           A.        No.
  12           Q.        Skipping ahead to page four.
  13     This is a document entitled resolution
  14     granting authority to cash company checks.
  15     This is for W.I.P. Holding.
  16                     Looking down towards the bottom
  17     of the page, Antonio Bravo is again listed
  18     as the company's president.
  19                     Mr. Kruglyak, just to make it
  20     clear for the record, has Antonio Bravo
  21     ever been the president of W.I.P. Holding?
  22           A.        No.
  23           Q.        An individual named Jorge
  24     Chesterking is listed as W.I.P. Holding's
  25     manager.
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                                                                   Page 42

   1                      Yakov Kruglyak
   2                     Has Jorge Chesterking ever been
   3     associated with W.I.P. Holding?
   4           A.        No.
   5           Q.        Have you ever met an individual
   6     named Jorge Chesterking?
   7           A.        No.
   8           Q.        Have you ever heard of an
   9     individual named Jorge Chesterking?
  10           A.        No.
  11           Q.        And an individual named William
  12     Claridge is listed as W.I.P. Holding's
  13     secretary.
  14                     Has William Claridge ever been
  15     associated with W.I.P. Holding?
  16           A.        No.
  17           Q.        Have you ever met an individual
  18     named William Claridge?
  19           A.        No.
  20           Q.        Have you ever heard of an
  21     individual named William Claridge?
  22           A.        No.
  23           Q.        Skipping ahead to page seven.                    I
  24     will tell you the next couple of pages are
  25     a series of checks written by a series of
Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 17 of 25 PageID #: 2928



                                                                   Page 43

   1                      Yakov Kruglyak
   2     entities to W.I.P. Holding that were all
   3     cashed at Cambridge Clarendon in New
   4     Jersey.       These entities included New York
   5     Core Chiropractic, Dos Manos Chiropractic,
   6     Golden Hands Chiropractic, the Law Offices
   7     of Gabriel and Moroff, PC, and that's it.
   8                     Do you know why a check being
   9     made out to W.I.P. Holding were being
  10     cashed at a check cashing facility in New
  11     Jersey?
  12           A.        It was a mobile check cashing
  13     unit.      The representative came here to
  14     Brooklyn.
  15           Q.        A representative from Cambridge
  16     Clarendon came to Brooklyn to collect
  17     these checks; is that a fair statement?
  18           A.        I don't know which company it
  19     was the representative of.
  20           Q.        Do you know the name of the
  21     representative?
  22           A.        Eugene.
  23           Q.        Is that the same Eugene that we
  24     discussed earlier who you gave the check
  25     to because Yakov Zilberman told you to?
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                                                                   Page 44

   1                      Yakov Kruglyak
   2           A.        Yes.
   3           Q.        Did you ever give checks to
   4     anyone other than Eugene to be cashed at a
   5     check cashing facility?
   6           A.        No.
   7           Q.        Did you meet Eugene on more than
   8     one occasion?
   9           A.        Yes.
  10           Q.        Did you give Eugene checks on
  11     more than one occasion?
  12           A.        Yes.
  13           Q.        Did you always give the checks
  14     to Eugene in the same location or would
  15     the location vary?
  16           A.        Different.
  17           Q.        Can you tell me where the
  18     locations were?
  19           A.        In the streets.            I don't
  20     remember exactly.
  21           Q.        Is it fair to say you always met
  22     Eugene on the streets?
  23           A.        Yes.
  24           Q.        You never met him as a
  25     storefront?
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                                                                   Page 45

   1                      Yakov Kruglyak
   2           A.        In storefronts?
   3           Q.        Have you ever met him inside of
   4     a store or outside of a storefront?
   5           A.        I met him at the bathhouse when
   6     we met.
   7           Q.        Did you ever meet him at a
   8     medical office?
   9           A.        No.
  10           Q.        Do you know what happened to the
  11     money from these checks that were being
  12     cashed?
  13           A.        The checks that I cashed I
  14     brought home.
  15           Q.        Did you receive the money?
  16           A.        The checks that I wrote, I got
  17     the money for them, yes.
  18           Q.        What about checks that other
  19     people wrote to W.I.P. Holding that you
  20     gave to Eugene to be cashed?
  21           A.        I don't know.
  22           Q.        Did you ever give Eugene checks
  23     to cash that were written by someone other
  24     than yourself?
  25           A.        Yes.
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                                                                   Page 46

   1                      Yakov Kruglyak
   2           Q.        What happened to that money?
   3           A.        I was only giving the checks
   4     away.
   5           Q.        Did you ever get money back?
   6           A.        No.
   7           Q.        Who told you to give these
   8     checks to Eugene then?
   9           A.        Dr. Yakov Zilberman.
  10           Q.        I'm showing you right now a
  11     check that New York Core Chiropractic
  12     wrote to W.I.P. Holding.
  13                     Is it your testimony that Dr.
  14     Yakov Zilberman told you to give this
  15     check to Eugene to be cashed at a check
  16     cashing facility?
  17           A.        No.
  18           Q.        Do you know who told you to give
  19     this check to Eugene to be cashed at a
  20     check cashing facility?
  21           A.        This was the check that was
  22     written to my company.                It was my check
  23     and I brought it myself.
  24           Q.        It's your testimony that you
  25     gave this check to Eugene; is that fair?
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                                                                   Page 80

   1                      Yakov Kruglyak
   2           Q.        Has it been AT&T since at least
   3     2012?
   4           A.        There were different names of
   5     the companies, but my number remained the
   6     same.
   7           Q.        Are you familiar with a law firm
   8     in Brooklyn known as Petroff Amshen?
   9           A.        No, I don't.
  10                     MR. CONROY:         That's all I have.
  11                     THE REPORTER:           Mr. Conroy, would
  12           you like a copy of today's
  13           proceedings?
  14                     MR. CONROY:         I do.
  15                     Thank you.
  16                     (TIME NOTED:          1:50 P.M.)
  17
  18
  19
  20
  21
  22
  23
  24
  25
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                                                                   Page 81

   1
   2                   A C K N O W L E D G E M E N T
   3     STATE OF NEW YORK)
   4                                         :ss
   5     COUNTY OF NEW YORK)
   6
   7         I, YAKOV KRUGLYAK, hereby certify that
   8     I have read the transcript of my testimony
   9     taken under oath on December 15, 2020,
  10     that the transcript is a true, complete
  11     and correct record of what was asked,
  12     answered and said during my testimony
  13     under oath, and that the answers on the
  14     record as given by me are true and
  15     correct.
  16
  17                        ____________________________
  18                                 YAKOV KRUGLYAK
  19
  20     Signed and subscribed to
  21     before me, this _____ day
  22     of ____________, 20___.
  23
  24     _________________________
  25     Notary Public
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                                                                   Page 82

   1
   2                              I N D E X
   3
   4     WITNESS                  EXAMINATION BY                    PAGE
   5     Yakov Kruglyak             Mr. Gorton                        7
   6                                Mr. Conroy                        70
   7
   8                              EXHIBIT
   9     PLAINTIFF'S              DESCRIPTION                       PAGE
  10     Exhibit 1          Subpoena                                       8
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  14     Exhibit 3          Narain affidavit                               13
  15
  16     Exhibit 4          Dos Manos checks                               30
  17
  18     Exhibit 5          Yan Z Deposits                                 32
  19
  20     Exhibit 6          Cambridge Clarendon                            37
  21                        document
  22
  23     Exhibit 7          Golden Hands check                             61
  24
  25     Exhibit 8          Kruglyak check                                 62
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                                                                   Page 83

   1
   2                      C E R T I F I C A T E
   3
   4                        I, TRACIE SHAND, a shorthand
   5              reporter and Notary Public within and
   6              for the State of New York, do hereby
   7              certify:
   8                        That the witness(es) whose
   9              testimony is hereinbefore set forth
  10              was duly sworn by me, and the
  11              foregoing transcript is a true record
  12              of the testimony given by such
  13              witness(es).
  14                        I further certify that I am not
  15              related to any of the parties to this
  16              action by blood or marriage, and that
  17              I am in no way interested in the
  18              outcome of this matter.
  19
  20
  21
  22
                               <%17003,Signature%>
  23                                     TRACIE SHAND
  24
  25
Case 1:20-cv-00209-FB-RML Document 44-2 Filed 05/13/21 Page 25 of 25 PageID #: 2936



                                                                   Page 84

   1                        ** ERRATA SHEET **
   2     CASE: GEICO vs. ZILBERMAN
         DEPOSITION DATE: 12/15/2020
   3     DEPONENT: YAKOV KRUGLYAK
   4     PAGE LINE(S)          CHANGE                      REASON
   5     ____|_____|_________________|_________________
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  21                                ____________________________
                                    YAKOV KRUGLYAK
  22
         SUBSCRIBED AND SWORN TO BEFORE ME
  23     THIS _____ DAY OF ____________, 20___.
  24
         ___________________                 ______________________
  25     (NOTARY PUBLIC)                     MY COMMISSION EXPIRES:
